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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                    )
IN RE DEPUY ORTHOPAEDICS, INC.      )
PINNACLE HIP IMPLANT                )               MDL Docket No.
PRODUCTS LIABILITY LITIGATION       )               3:11-MD-2244-K
___________________________________ )
                                    )               Judge Kinkeade
This Document Relates To All Cases  )
___________________________________ )

                UNOPPOSED MOTION TO WITHDRAW AS COUNSEL

       Thomas F. Shea of the law firm Barnes & Thornburg LLP respectfully files this

unopposed motion to withdraw as counsel of record for DePuy Orthopaedics, Inc., Johnson &

Johnson, and Johnson & Johnson Services, Inc. on all matters in this MDL proceeding.

Remaining counsel of record for these parties will continue to represent them in all applicable

matters.


                             CERTIFICATE OF CONFERENCE

       I certify that on February 13, 2019, attorney Richard Arsenault confirmed that plaintiffs

do not oppose this motion.

Dated: February 14, 2019                            Respectfully submitted,

                                                    /s/Thomas F. Shea
                                                    Thomas F. Shea
                                                    Barnes & Thornburg LLP
                                                    11 South Meridian Street
                                                    Indianapolis, IN 46204
                                                    (317) 231-7738

                                                    Attorney for Defendants DePuy
                                                    Orthopaedics, Inc., Johnson &
                                                    Johnson, and Johnson &
                                                    Johnson Services, Inc.
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                                    CERTIFICATE OF SERVICE

       I certify that on February 14, 2019, I served all counsel of record via the Court’s

electronic filing e-mail service.



                                                     /s/Thomas F. Shea_________
                                                     Thomas F. Shea




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